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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                        ) Chapter 11
                                                  )
    ETTA SCOTTSDALE, LLC; et al., 1               ) Case No. 24-10063 (KBO)
                                                  )
                     Debtors.                     ) Jointly Administered
                                                  )
    LENDINGCLUB BANK, N.A.,                       )
                                                  )
                     Plaintiff,                   ) Adv. Pro. No. 24-50019 (KBO)
                                                  )
    v.                                            )
                                                  )
    WINTRUST BANK, N.A. and                       )
    ETTA BUCKTOWN, LLC and                        )
    ETTA SCOTTSDALE, LLC, et al.,                 )
                                                  )
                     Defendants.                  )

                            NOTICE OF AGENDA FOR HEARING
                       SCHEDULED FOR APRIL 2, 2024 AT 1:00 P.M. (EDT)

                    THIS PROCEEDING WILL BE CONDUCTED IN-PERSON.

 All counsel and witnesses are expected to attend unless permitted to appear remotely via
                 Zoom. Please refer to Judge Owens’s Chambers Procedures
   (https://www.deb.uscourts.gov/content/judge-karen-b-owens) and the Court’s website
(http://www.deb.uscourts.gov/ecourt-appearances) for information on who may participate
remotely, the method of allowed participation (video or audio), Judge Owens’s expectations
of remote participants, and the advance registration requirements. Registration is required
  by 4:00 p.m. (Eastern time) the business day before the hearing unless otherwise noticed
             using the eCourtAppearances tool available on the Court’s website.




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         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
         tax identification number, are: Etta Scottsdale, LLC (6137), Etta River North, LLC (1790);
         Etta Bucktown, LLC (3845); Etta Collective, LLC (7346); Aya Bakery, LLC (9515); and 1840
         North Ave. Corp. (9501). The location of the Debtors’ corporate headquarters is 433 W Van
         Buren St, Chicago, IL 60607.
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MATTER WITH ORDER ENTERED:

1.      Application of Debtors pursuant to 11 U.S.C. § 327(a) for Authority to Employ and Retain
        Goldstein & McClintock LLLP as Counsel for the Debtors, Nunc Pro Tunc to the
        Applicable Petition Date [Docket No. 124; Filed 2/16/2024]

Objection Deadline: March 1, 2024 at 4:00 p.m. ET
Objections Filed: None
Related Documents:
     A. Certificate of No Objection with Respect to Application of Debtors pursuant to 11 U.S.C.
        § 327(a) for Authority to Employ and Retain Goldstein & McClintock LLLP as Counsel
        for the Debtors, Nunc Pro Tunc to the Applicable Petition Date [Docket No. 180; Filed
        3/4/2024]

     B. Order Authorizing the Employment of Goldstein & McClintock LLLP as Counsel to the
        Debtors, Nunc Pro Tunc to the Applicable Petition Date [Docket No. 182; Entered
        3/5/2024]

Status: An order has been entered by the Court. This matter is resolved.

MATTER WITH CERTIFICATE OF COUNSEL FILED:

2.      Debtors’ Motion for Entry of an Order Establishing Procedures for Interim Compensation
        and Reimbursement of Expenses of Professionals [Docket No. 125; Filed 2/16/2024]

Objection Deadline: March 1, 2024 at 4:00 p.m. ET
Objections Filed:
     A. PACA Creditors’ Limited Objection to Debtors’ Motion for Entry of an Order Establishing
        Procedures for Interim Compensation and Reimbursement of Expenses of Professionals
        [Docket No.175; Filed 3/1/2024]

Related Documents:
     A. Certification of Counsel with Respect to Order Establishing Procedures for Interim
        Compensation and Reimbursement of Expenses of Professionals [Docket No. 227; Filed
        3/28/2024]

Status: The Debtors have filed a Certification of Counsel and proposed form of order which
resolves the objection filed. This matter is going forward solely to the extent the Court has
questions.




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MATTERS GOING FORWARD:

3.      Emergency Motion of Debtors pursuant to Sections 105, 361, 363 and 364 of the
        Bankruptcy Code; Bankruptcy Rule 4001 and Local Rule 4001-2 for Interim and Final
        Orders: (1) Authorizing Debtor-in-Possession Financing; (2) Authorizing Use of Cash
        Collateral; (3) Approving Payment of Limited Pre-Petition Debts; (4) Scheduling Final
        Hearing; and (5) For Related Relief [Docket No. 55; Filed 2/4/2024]

Objection Deadline: February 28, 2024 at 4:00 p.m. (EST)
Objections Received:
     A. Objection of LendingClub Bank, N.A. to Debtor’s Motion pursuant to Sections 105, 361,
        363 and 364 of the Bankruptcy Code; Bankruptcy Rule 4001 and Local Rule 4001-2 for
        Interim and Final Orders: (1) Authorizing Debtor-in-Possession Financing;
        (2) Authorizing Use of Cash Collateral; (3) Approving Payment of Limited Pre-Petition
        Debts; (4) Scheduling Final Hearing; and (5) For Related Relief [Docket No. 68; Filed
        2/5/2024]

     B. Amended Objection of LendingClub Bank, N.A. to Debtor’s Motion pursuant to Sections
        105, 361, 363 and 364 of the Bankruptcy Code; Bankruptcy Rule 4001 and Local Rule
        4001-2 for Interim and Final Orders: (1) Authorizing Debtor-in-Possession Financing;
        (2) Authorizing Use of Cash Collateral; (3) Approving Payment of Limited Pre-Petition
        Debts; (4) Scheduling Final Hearing; and (5) For Related Relief [Docket No. 154; Filed
        2/28/2024]

     C. PACA Creditors’ Objection to Emergency Motion of Debtors pursuant to Sections 105,
        361, 363 and 364 of the Bankruptcy Code; Bankruptcy Rule 4001 and Local Rule 4001-2
        for Interim and Final Orders: (1) Authorizing Debtor-in-Possession Financing;
        (2) Authorizing Use of Cash Collateral; (3) Approving Payment of Limited Pre-Petition
        Debts; (4) Scheduling Final Hearing; and (5) For Related Relief [Docket No. 158; Filed
        2/28/2024]

     D. Declaration of Randall Anderson in Support of PACA Creditors’ Objection to Emergency
        Motion of Debtors pursuant to Sections 105, 361, 363 and 364 of the Bankruptcy Code;
        Bankruptcy Rule 4001 and Local Rule 4001-2 for Interim and Final Orders:
        (1) Authorizing Debtor-in-Possession Financing; (2) Authorizing Use of Cash Collateral;
        (3) Approving Payment of Limited Pre-Petition Debts; (4) Scheduling Final Hearing; and
        (5) For Related Relief [Docket No. 156; Filed 2/28/2024]

     E. Declaration of Cynthia Lott in Support of PACA Creditors’ Objection to Emergency
        Motion of Debtors pursuant to Sections 105, 361, 363 and 364 of the Bankruptcy Code;
        Bankruptcy Rule 4001 and Local Rule 4001-2 for Interim and Final Orders:

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      (1) Authorizing Debtor-in-Possession Financing; (2) Authorizing Use of Cash Collateral;
      (3) Approving Payment of Limited Pre-Petition Debts; (4) Scheduling Final Hearing; and
      (5) For Related Relief [Docket No. 157; Filed 2/28/2024]

   F. L.A. Specialty Produce Co. DBA Vesta Foodservice’s Joinder to PACA Creditors’
      Objection to Emergency Motion of Debtors pursuant to Sections 105, 361, 363 and 364 of
      the Bankruptcy Code; Bankruptcy Rule 4001 and Local Rule 4001-2 for Interim and Final
      Orders: (1) Authorizing Debtor-in-Possession Financing; (2) Authorizing Use of Cash
      Collateral; (3) Approving Payment of Limited Pre-Petition Debts; (4) Scheduling Final
      Hearing; and (5) For Related Relief [Docket No. 161; Filed 2/28/2024]

   G. Declaration of Scott Parra-Matthews in Support of L.A. Specialty Produce Co. DBA Vesta
      Foodservice’s Joinder to PACA Creditors’ Objection to Emergency Motion of Debtors
      pursuant to Sections 105, 361, 363 and 364 of the Bankruptcy Code; Bankruptcy Rule 4001
      and Local Rule 4001-2 for Interim and Final Orders: (1) Authorizing Debtor-in-Possession
      Financing; (2) Authorizing Use of Cash Collateral; (3) Approving Payment of Limited Pre-
      Petition Debts; (4) Scheduling Final Hearing; and (5) For Related Relief [Docket No. 162;
      Filed 2/28/2024]

Related Documents:
   A. Declaration of David Pisor in Support of Debtors’ First Day Motions [Docket No. 58; Filed
      2/4/2024]

   B. Supplemental Declaration of David Pisor in Support of Debtors’ First Day Motions
      [Docket No. 65; Filed 2/5/2024]

   C. Interim Order: (A) Authorizing Use of Cash Collateral; (B) Approving Payment of Limited
      Pre-Petition Debts; (C) Scheduling Final Hearing; and (D) For Related Relief [Docket No.
      84; Entered 2/6/2024]

   D. Revised Interim Order: (A) Authorizing Use of Cash Collateral; (B) Approving Payment
      of Limited Pre-Petition Debts; (C) Scheduling Final Hearing; and (D) For Related Relief
      [Docket No. 98; Entered 2/9/2024]

   E. Second Revised Interim Order: (A) Authorizing Use of Cash Collateral; (B) Approving
      Payment of Limited Pre-Petition Debts; (C) Scheduling Final Hearing; and (D) For Related
      Relief [Docket No. 145; Entered 2/26/2024]

   F. Second Supplemental Declaration of David Pisor in Support of Debtors’ First Day Motions
      [Docket No. 152; Filed 2/28/2024]


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     G. Notice of Filing of Proposed Final Cash Collateral Order [Docket No. 155; Filed
        2/28/2024]

Status: This matter is going forward. The Debtors are requesting a final order be entered.
4.      Motion for Entry of an Order (I) Approving Bidding Procedures in Connection with Sale
        of Assets of the Debtors, (II) Approving Form and Manner of Notice, (III) Scheduling
        Auction and Sale Hearing, (IV) Authorizing Procedures Governing Assumption and
        Assignment of Certain Contracts and Unexpired Leases, and (V) Granting Related Relief
        [Docket No. 56; Filed 2/4/2024]

Objection Deadline: March 27, 2024 at 4:00 p.m. EDT
Objections Filed:
     A. Objection of LendingClub Bank, N.A. to Debtors’ Motion for Entry of an Order
        (I) Approving Bidding Procedures in Connection with the Sale of Assets of the Debtors,
        (II) Approving Form and Manner of Notice, (III) Scheduling Auction and Sale Hearing,
        (IV) Authorizing Procedures Governing Assumption and Assignment of Certain Contracts
        and Unexpired Leases, and (V) Granting Related Relief [Docket No. 101; Filed 2/12/2024]

     B. Objection and Reservation of Rights of WPG Legacy, LLC to the Debtors’ Notice of
        Possible Assumption and Assignment of Certain Executory Contracts and Unexpired
        Leases in Connection with Sale [Docket No. 160; Filed 2/28/2024]

     C. Supplemental Objection and Reservation of Rights of WPG Legacy, LLC to the Debtors’
        Notice of Possible Assumption and Assignment of Certain Executory Contracts and
        Unexpired Leases in Connection with Sale [Docket No. 218; Filed 3/22/2024]

     D. Oracle’s Reservation of Rights in Response to Debtors’ Motion for Entry of an Order
        (I) Approving Bidding Procedures in Connection with Sale of Assets of the Debtors,
        (II) Approving Form and Manner of Notice, (III) Scheduling Auction And Sale Hearing,
        (IV) Authorizing Procedures Governing Assumption and Assignment of Certain Contracts
        and Unexpired Leases, and (V) Granting Related Relief [Docket No. 222; Filed 3/27/2024]

     E. Limited Objection and Reservation of Rights of WPG Legacy, LLC to the Proposed Sale
        and Assumption and Assignment of the Debtors’ Unexpired Lease at Scottsdale Quarter
        [Docket No. 223; Filed 3/27/2024]

Related Documents:
     A. Declaration of David Pisor in Support of Debtors’ First Day Motions [Docket No. 58; Filed
        2/4/2024]



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     B. Supplemental Declaration of David Pisor in Support of Debtors’ First Day Motions
        [Docket No. 65; Filed 2/5/2024]

     C. Order Shortening Notice Period in Connection with Motion for Entry of an Order
        (I) Approving Bidding Procedures in Connection with Sale of Assets of the Debtors,
        (II) Approving Form and Manner of Notice, (III) Scheduling Auction and Sale Hearing,
        (IV) Authorizing Procedures Governing Assumption and Assignment of Certain Contracts
        and Unexpired Leases, and (V) Granting Related Relief [Docket No. 77; Entered 2/6/2024]

     D. Notice of Filing of Amendments to Bidding Procedures and Related Documents in
        Connection with Sale of Assets of the Debtors [Docket No. 95; Filed 2/9/2024]

     E. Supplemental Declaration of David Pisor in Support of Bidding Procedures [Docket No.
        102; Filed 2/12/2024]

     F. Declaration of Brian Laskov in Support of Bidding Procedures [Docket No. 103; Filed
        2/12/2024]

     G. Notice of Sale, Bidding Procedures, Auction, Sale hearing and Objection Dealdine [Docket
        No. 121; Filed 2/15/2024]

     H. Notice of Possible Assumption and Assignment of Certain Executory Contracts and
        Unexpired Leases [Docket No. 122; Filed 2/15/2024]

     I. Order Approving Stipulation Resolving Cure Amount (with BH Chicago Owner, LLC)
        [Docket No. 216; Entered 3/19/2024]

     J. Notice of Filing of Proposed Order (A) Authorizing the Sale of Assets Free and Clear of
        Liens, Claims, Encumbrances, and Interests, (B) Authorizing and Approving the
        Assumption and Assignment of Executory Contracts and Unexpired Leases in Connection
        with Such Sale, and (C) Granting Related Relief [Docket No. 219; Filed 3/22/2024]

     K. Notice of Completion of Auction and Designation of Successful Bidder [Docket No. 220;
        Filed 3/26/2024]

Status:    This matter is going forward.
PRETRIAL CONFERENCE:

5.      Pretrial Conference; LendingClub Bank, N.A. v. Wintrust Bank, N.A., et al., Adv. Pro. No.
        24-50019.



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Related Documents:
      A.       Verified Complaint (1) Challenging the Extent, Validity and Priority of Wintrust
               Bank, N.A.’s Liens on Assets of the Debtor Etta Bucktown, LLA and Its Jointly
               Administered Debtors; (2) Enjoining Wintrust Bank and the Debtor From Taking
               the Proceeds from the Sale of Etta Bucktown’s and the Debtors’ Assets in the
               Debtors’ Bankruptcy Cases, and for (3) Declaratory Judgment [Adv. Docket No.
               1; Filed 2/22/2024]

      B.       Summons and Notice of Pretrial Conference in an Adversary Proceeding served
               on Wintrust Bank, N.A. [Adv. Docket No. 6; Filed 2/28/2024]

      C.       Alias Summons and Notice of Pretrial Conference in an Adversary Proceeding
               served on Debtors [Adv. Docket No. 8; Filed 3/1/2024]

Status:    The parties have reached a settlement of the adversary proceeding and are working to
           document the resolution. To the extent a settlement is not finalized, this matter is being
           continued to a date to be determined.


                                              Respectfully submitted,
Dated: March 28, 2024                         GOLDSTEIN & MCCLINTOCK, LLLP

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